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                                                                   United States Bankruptcy Court
                                                                       Southern District of Texas

                                                                          ENTERED
                  IN THE UNITED STATES BANKRUPTCY COURT               November 22, 2024
                    FOR THE SOUTHERN DISTRICT OF TEXAS                 Nathan Ochsner, Clerk
                             HOUSTON DIVISION

IN RE:                          §
                                §             CASE NO: 22-32998
HOUSTON REAL ESTATE PROPERTIES §
LLC,                            §             CHAPTER 7
                                §
       Debtor.                  §
                                §
JOHN QUINLAN                    §
and                             §
OMAR KHAWAJA                    §
and                             §
OSAMA ABDULLATIF,               §
                                §
       Plaintiffs,              §
                                §
VS.                             §             ADVERSARY NO. 23-3141
                                §
JETALL COMPANIES, INC.          §
and                             §
ARABELLA PH 3201 LLC            §
and                             §
9201 MEMORIAL DR. LLC           §
and                             §
2727 KIRBY 26L LLC              §
and                             §
DALIO HOLDINGS I, LLC           §
and                             §
DALIO HOLDINGS II, LLC          §
and                             §
HOUSTON REAL ESTATE PROPERTIES, §
LLC                             §
and                             §
SHAHNAZ CHOUDHRI                §
and                             §
ALI CHOUDHRI                    §
and                             §
SHEPHERD-HULDY DEVELOPMENT I, §
LLC                             §
and                             §
SHEPHERD-HULDY DEVELOPMENT II, §
LLC                             §
and                             §

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GALLERIA LOOP NOTE HOLDER LLC                              §
and                                                        §
MOUNTAIN BUSINESS CENTER, LLC                              §
and                                                        §
RANDY W WILLIAMS CH7 TRUSTEE                               §
and                                                        §
OTISCO RDX LLC                                             §
and                                                        §
MCITBE, LLC                                                §
and                                                        §
JETALL/CROIX PROPERTIES LP                                 §
and                                                        §
JETALL/CROIX GP, LLC,                                      §
                                                           §
          Defendants.                                      §

          ORDER ABATING MOTIONS AND SETTING STATUS CONFERENCE

Pending before the Court are three pending motions the Motion to Dismiss/Withdraw Document
(ECF No. 260), the Motion to Dismiss/Withdraw Document (ECF No. 261) and the Motion for
Summary Judgment (ECF 266) all are set for hearing at 9:30 a.m. on November 26, 2024.
However, the motions and the pleadings in this case are possibly incomplete because discovery is
ongoing1 and the Court has issued orders sanctioning all of the moving parties.2 The Court
additionally notes that the response deadline for these three motions predates a noticed deposition.3

Accordingly, the Court abates these three motions, suspends the response deadline and sets a Status
Conference to determine the status of discovery, if any deadlines should be extended and if parties
who are non-responsive to discovery should have their pleadings struck and be barred from trial.




1
  An Amended Notice of Intent to Take Oral and Videotaped Deposition of Shahnaz Choudhri was filed yesterday on
November 21, 2024, for November 25, 2024 (ECF No. 338).
2
  ECF No. 328 “all respective pleadings in this matter for Shahnaz Choudhri shall be struck from this Court's record
as if never filed and the Court issues a Default Judgment against Shahnaz Choudhri such that all allegations made in
the complaint are admitted by her,” ECF No. 250 “Shahnaz reimburse Plaintiffs for the costs preparing for and
attending her deposition on October 10, 2024, as well as the preparation of Plaintiff’s Motion for Sanctions and/or to
Compel in the amount of $5,640.00 payable within 14 days of the date of this order or her pleadings shall be struck
from this cause and default judgment shall be entered against her,” and ECF No. 187 the “defendants, however, their
failure to respond violates FRCP 34. Therefore, based on their combined non-responsiveness to all Requests for
Production the Court ORDERS pursuant to FCRP 37 that they are prohibited from supporting or opposing designated
claims or defenses in the plaintiffs’ pleadings, or from introducing designated matters in evidence that are directly or
indirectly related to any production requests that was not timely produced.”
3
  See footnote 1.
2/3
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The Status Conference is set at 12:30 p.m. on December 2, 2024. Hearings on the abated motions
are cancelled.

SO ORDERED.

        SIGNED 11/22/2024


                                                 ___________________________________
                                                 Jeffrey Norman
                                                 United States Bankruptcy Judge




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